                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

NATHAN MAXWELL BENFORD,                           )
                                                  )
        Petitioner,                               )
v.                                                )           Nos. 1:04-cv-120 / 1:98-cr-77-02
                                                  )           Edgar / Lee
UNITED STATES OF AMERICA,                         )
                                                  )
        Respondent.                               )


                                           JUDGMENT


                In accordance with the accompanying memorandum opinion and order filed herewith,

it is ORDERED and ADJUDGED that the motion by Nathan Maxwell Benford for post-conviction

relief pursuant to 28 U.S.C. § 2255 is DENIED and DISMISSED WITH PREJUDICE. Pursuant

to 28 U.S.C. § 1915(a)(3) and Rule 24(a), the Court CERTIFIES that any appeal of this judgment

would be completely frivolous and not taken in good faith. Any application by Nathan Maxwell

Benford for leave to proceed in forma pauperis on appeal is DENIED. Should Nathan Maxwell

Benford timely file a notice of appeal, said notice of appeal will be treated as an application for a

certificate of appealability which is DENIED pursuant to 28 U.S.C. § 2253(c) and Fed. R. App. P.

22(b)(1) because he has not made a substantial showing of the denial or deprivation of a

constitutional right.

                This is a FINAL JUDGMENT.

                ENTER this 8th day of March, 2006.


                                                   /s/ R. Allan Edgar
                                                   R. ALLAN EDGAR
                                            UNITED STATES DISTRICT JUDGE




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